Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 1 of 18 PageID #: 152



UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------   x
ELIANA GALAN and CAROLINA                            :
GUERRERO, on behalf of themselves                    :      No. 18-cv-02603-ENV-JO
and others similarly situated,                       :
                                                     :
                   Plaintiffs,                       :
 - against -                                         :
                                                     :
CARLOS SEGARRA; LUZMILA                              :
SEGARRA; JUAN CARLOS                                 :
SEGARRA; LUIS CAGUANA;                               :
SEGARRA GROUP;                                       :
CHIFLEZ CORP; and COSITAS RICAS                      :
ECUATORIANAS CORP. d/b/a EL                          :
PEQUENO COFFEE SHOP;                                 :
                                                     :
                   Defendants                        :
--------------------------------------------------   x




                 POST-INQUEST HEARING MEMORANDUM IN SUPPORT OF
                    PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT




                                      Law Office of Mohammed Gangat
                                        675 Third Avenue, Suite 1810
                                            New York, NY 10017
                                    mgangat@gangatpllc.com (718) 669-0714
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 2 of 18 PageID #: 153



                                PRELIMINARY STATEMENT

        Plaintiffs Eliana Galan (“Eliana”) and Carolina Guerrero (“Carolina” and together with

 Eliana, “Plaintiffs”) submit this memorandum in further support of their motion for default

 judgment against defendants Carlos Segarra, Juan Carlos Segarra, Chiflez Corp. and Cositas

 Ricas Ecuatorianas Corp. (collectively, “Defendants”).

        Plaintiffs appeared at an inquest hearing on October 10, 2018 where Eliana and Carolina

 each testified in support of the motion for default judgment. A transcript from the hearing is

 attached as Exhibit A to the Second Declaration of Mohammed Gangat in support of the motion

 (“Second Gangat Decl.”).

        At the hearing Plaintiffs confirmed that they were deprived of legally-mandated

 minimum wages, overtime wages, and ‘spread of hours’ wages in violation of the federal Fair

 Labor Standards Act, 29 U.S.C. §§ 201 et seq. (“FLSA”), and New York Labor Law §§ 190 et

 seq., and 650 et seq. As explained more fully in the memorandum of law submitted in support of

 the motion, Plaintiffs are entitled to a judgment awarding recovery of their unpaid minimum

 wages, unpaid overtime compensation, unpaid ‘spread of hours pay, liquidated damages,

 statutory damages for wage notice violations, prejudgment interest, attorneys fees and costs of

 this action, and such other further relief as the Court deems just and proper.       Since the

 submission of that memorandum of law, Plaintiffs have refined their position and are submitting

 this memorandum of law where Plaintiffs (a) set forth a new proposed findings of fact, (b)

 withdraw the motion as against defendant Luis Caguana and defendant Luzmila Segarra, and (c)

 withdraw plaintiff Eliana Galan’s claims for violations of the New York Labor Law provisions

 concerning annual wage notices and periodic wage statements.




                                              -2-
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 3 of 18 PageID #: 154



                               PROPOSED FINDINGS OF FACT

        The Employment

        1.      Eliana worked for Chiflez restaurant starting around February 2015. (Tr. 3:21-

 4:8; see Compl. ¶ 13; Galan Aff. ¶ 1).

        2.      Eliana’s employment with Chiflez ended on December 22, 2016, when Eliana

 resigned due the restaurant denying her request to take off from work on Christmas Eve. (Tr.

 7:4-13; see Compl. ¶ 13; Galan Aff. ¶ 1.)

        3.      Carolina worked for El P      equeno restaurant starting in July 2016 and

 remained employed to a date between January 28, 2017 and early February 2017. (Tr. 15:7-

 16:23; see Compl. ¶ 14; Guerrero Aff ¶ 1.)

        4.      Chiflez is located at 95-02 Roosevelt Avenue, Jackson Heights, New York,

 11372. (See Compl. ¶ 8.)

        5.      According to the records on file with the New York State Department of State,

 defendant Chiflez Corp is a New York Corporation with a principal executive office at 95-02

 Roosevelt Avenue, FL 1, Jackson Heights, New York, 11372, and the Chief Executive Officer of

 the corporation is Carlos Segarra, having an address of 8502 Roosevelt Avenue, FL 1, Jackson

 Heights, New York, 11372. (A copy of the relevant NYS DOS records is attached as Exhibit B

 to the Second Gangat Decl.)

        6.      El Pequeno is located at 86-10 Roosevelt Avenue, Jackson Heights, New York

 11372. (See Compl. ¶ 9.)

        7.      According to the records on file with the New York State Department of State,

 defendant Cositas Ricas Ecuatorianas Corp. d/b/a El Pequeno Coffee Shop (“Corporate

 Defendant” or “El Pequeno”) is a New York Corporation with a principal executive office at 86-



                                               -3-
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 4 of 18 PageID #: 155



 10 Roosevelt Avenue, Jackson Heights, New York 11372, and the Chief Executive Officer of the

 corporation is Carlos A Segarra, having an address of 8610 Roosevelt Avenue, Unit 4, 1st FL,

 Jackson Heights, New York, 11372. (A copy of the relevant NYS DOS records is attached as

 Exhibit C to the Second Gangat Decl.)

        8.      Eliana testified that Juan Carlos Segarra hired her to work at Chiflez, and he set

 her rate of pay, directed her work, and was in charge of paychecks. (Tr. 5:13-6:12.)

        9.      Carolina testified that Juan Carlos Segarra would come to El Pequeno “a lot” and

 when present he would observe and pay attention to everything. (Tr. 15:24-16:8.) Carolina also

 testified that the manager, Jacinto, told Carolina that defendant Juan Carlos Segarra “was one of

 the people in charge” of things like hiring and firing employees at El Pequeno. (Id.)

        10.     Eliana testified that she knew defendant Carlos Segarra to be an owner of Chiflez

 restaurant because another employee, Veronica, told her and because all of the mail would come

 in the name of Carlos Segarra. (Tr. 13:4-19.). Eliana testified that she believed that as the owner

 defendant Carlos Segarra could fire her from her employment with Chiflez. (Id.)

        11.     Carolina testified that defendant Carlos Segarra was an owner of El Pequeno

 restaurant, along with defendant Luzmila Segarra. (Tr. 14:24-15:4.) Carolina testified that she

 was hired by “Jacinto”, a manager at the restaurant who reported to defendant Carlos Segarra.

 (Tr. 15:7-15.) Carolina also testified that Carlos Segarra had the authority to fire her, (id.), and

 was consistently present at the restaurant and when present, he would observe everything that

 was going on at the restaurant. (Tr. 15:16-23.)

        12.     The above factual findings support the conclusion that defendant Carlos Segarra

 and Juan Carlos Segarra (the “Individual Defendants”) controlled, supervised and directed

 Plaintiffs with respect to the work Plaintiffs performed. Furthermore, the Individual Defendants



                                                -4-
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 5 of 18 PageID #: 156



 were present on the premises of the restaurants on a consistent basis, actively supervised the

 work of employees, including Plaintiffs, and that all issues concerning employment, including

 hours worked and pay received, be approved by them.

        Wages and Hours

        13.     Eliana was paid nothing for her first week of work, $30 each day worked during

 her second week of work, and $40 each day worked in all subsequent weeks. (Tr. 5:7-16;

 Compl. ¶ 26; Galan Aff ¶ 4.)

        14.     Eliana worked five days per week Wednesday-Sunday, her hours being from

 6am-4pm on Wednesdays, Thursdays and Sundays, and from 6am-5pm on Fridays and

 Saturdays; in other words, she was working 52 hours per week, for an effective hourly rate of

 $3.84. (Id.)

        15.     Carolina worked different schedules at different points in the employment;

 starting July 2016 and continuing through August 2016, she worked each week, two 8-hour shifts

 for $9.50 per hour and two 9.5-hour shifts, for wages of $40 per shift, or $4.21 per hour. (Tr.

 16:19-17:12; Compl. ¶ 29; Guerrero Aff. ¶ 4.)

        16.     From September 1-December 15, 2016, Carolina worked five days, 9.5 hours

 each day, and wages of $40 per shift, or $4.21 per hour. (Tr. 17:14-18:13; Compl. ¶ 30;

 Guerrero Aff. ¶ 5.)

        17.     During the course of their employment, Plaintiffs were never paid the full

 minimum wage, overtime pay, or New York State “spread-of-hours” pay. (Compl. ¶ 26-34.)

        18.     Defendants violated both the Fair Labor Standards Act (“FLSA”) and New York

 Labor Law (“NYLL”) in willfully failing to pay Plaintiffs the full applicable minimum wage and

 one-half times that minimum wage rate. (See id. ¶ 59-85.)



                                                 -5-
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 6 of 18 PageID #: 157



        19.     Defendants also violated the NYLL in willfully failing to pay “spread-of-hours”

 pay to Plaintiffs despite the fact that there were days when Plaintiffs worked in excess of ten

 hours per day. (Id. ¶ 78-79.)

        20.     Consequently, Defendants owe Plaintiffs unpaid wages in the amount of $35,615

 to Eliana Galan and $7,738.50 to Carolina Guerrero. (Gangat Decl. ¶ 9-18.)

        Wage Records, Wage Notice and Wage Statements Violations

        21.     Defendants failed to maintain records of the hours during which Plaintiffs

 performed work for the Defendants. (Compl. ¶¶ 37.)

        22.     At the time Defendants hired Plaintiff Carolina Guerrero, they failed to provide

 her sufficient notice of her rate of pay and her regularly designated payday and as otherwise

 required under New York Labor Law Section 195(1). (Compl. ¶ 84; Guerrero Aff ¶ 11; Tr. 20:3-

 6.)

        23.     Defendants failed to in making each payment of wages to Plaintiff Carolina

 Guerrero provide a written statement stating the dates of work the wages covered, the name of

 the employer, address of the employer, rate of pay and the basis for it, gross wages, deductions,

 allowances claimed as part of the minimum wage, net wages, overtime rate of pay, and the

 number of overtime hours. (Guerrero Aff. ¶ 12; Tr. 20:10-15.)

        24.     Defendants failed to disclose or apprise Plaintiffs of their rights under the law.

 Compl. ¶¶ 38-40, 80-81, 84.

        Defendants’ Default

        25.     Defendants were properly served with the Complaint in this matter, failed to plead

 or otherwise in the time required by the rules, and the Clerk of Court entered the Defendants’

 default on July 2, 2018. Gangat Decl. ¶ 4-5.



                                                -6-
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 7 of 18 PageID #: 158



                              PROPOSED CONCLUSIONS OF LAW

     I.       Jurisdiction and Venue

           This Court has original federal question jurisdiction over this controversy pursuant to 29

 U.S.C. § 216 (b), 28 U.S.C. §§ 1331, 1337 and 1343. At all relevant times, at all relevant times,

 Defendants (a) had employees engaged in commerce or in the production of goods for

 commerce, or that handle, sell, or otherwise work on goods or materials that have been moved in

 or produced for commerce and (b) had gross revenues in excess of $500,000. (Complaint ¶¶ 12,

 60, 62.) Plaintiffs are covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a)

 and 207(a). (Id.)

           This Court has supplemental jurisdiction over Plaintiffs’ state law wage and hour claims

 because those claims and Plaintiffs’ FLSA claims arise from a common nucleus of operative

 fact. 28 U.S.C. § 1367.

           Venue is proper in the Eastern District because the conduct making up the basis of the

 complaint took place in this judicial district. 28 U.S.C. § 1391.

     II.      Proper Defendants

           At the hearing Plaintiffs confirmed that each of the Defendants named in the action,

 except Defendant Luis Caguana and Defendant Luzmila Segarra were Plaintiffs’ “employers” as

 defined in the Fair Labor Standards Act (“FLSA”) and New York Labor Law (“NYLL”). See 29

 U.S.C. § 203(d); N.Y. Lab. Law § 190(3).

           The FLSA broadly defines an "employer" as "any person [or corporation] acting directly

 or indirectly in the interest of an employer in relation to an employee." 29 U.S.C. § 203(d). The

 New York Labor Law is equally expansive, defining "employer" as "any person [or] corporation

 ... employing any individual in any occupation .... " NY. Lab. Law § 190(3). Under the FLSA,



                                                  -7-
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 8 of 18 PageID #: 159



 the Second Circuit has held individuals liable through the application of an “economic reality”

 test. Under the economic reality test, some of the relevant factors are whether the individual had

 the power to hire and fire the employees, the extent to which the individual controlled the

 schedules or conditions of employment, the individual’s control over the rate of pay and method

 of payment, and whether the individual maintained the employment records. Carter v. Dutchess

 Community College, 735 F.2d 8, 12 (2nd Cir. 1984). Under the NYLL, courts have also held

 individuals liable as employers using the “economic reality” test. Bonito v. Avalon Partners,

 Inc., 106 A.D.3d 625, 626 (1st Dept. 2013); Matter of Carver v. State of New York, 87 A.D.3d 25,

 30 (2nd Dept. 2011).

            Here, Defendants Carlos Segarra and Juan Carlos Segarra satisfy the “economic reality”

 test under FLSA and NYLL to be individually, and jointly and severally liable as employers for

 the damages owed to Plaintiffs.

            In sum, Plaintiffs have alleged that each of the Defendants was their employer. Further,

 Plaintiffs have alleged that the Defendants exercised "managerial responsibilities" and

 substantial control of the terms and conditions of their work in various ways. Accepting

 Plaintiffs' allegations as true, as the Court does where, as here, the Defendants are in default, the

 Defendants qualify as Plaintiffs' employer such that they are jointly and severally liable to

 Plaintiffs under the FLSA and New York Labor Law.

     III.      Plaintiffs are Entitled to Entry of a Default Judgment

            Rule 55 of the Federal Rules of Civil Procedure sets forth a two-step process by which a

 default judgment may be entered. First, when defendants have properly been served with a

 complaint but fail to plead or otherwise defend, the court clerk enters a default on the docket.

 Fed. R. Civ. P. 55(a). Then, if the defendants remain in default, the court may enter a default



                                                   -8-
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 9 of 18 PageID #: 160



 judgment, and award plaintiff damages and other relief. Fed. R. Civ. P. 55(b).

         Dispositions of motions for default judgment are left to the sound discretion of the district

 court. Shah v New York State Department of Civil Service, 168 F. 3d 610, 615 (2d Cir. 1999). In

 civil cases, where a party fails to respond, after notice the court is ordinarily justified in entering

 a judgment against the defaulting party. Fed. R. Civ. P. 55(b)(2); see also Bermudez v. Reid, 733

 F. 2d 18, 21 (2d Cir. 1984).

         In determining whether to enter default judgment, courts consider such factors as whether

 the grounds for default are clearly established, whether the complaint states a valid cause of

 action, whether the plaintiff will be prejudiced by a delay in obtaining judgment, and the effect a

 default judgment might have on the defendant. See Au Bon Pain Corp. v. Artect, Inc., 653 F. 2d

 61, 65 (2d Cir. 1981).

         Here, Plaintiffs are entitled to entry of default judgment because the Defendants were

 properly served with the Complaint but have nonetheless failed to appear, and because the

 circumstances of this case favor entry of default judgment. For example, Plaintiffs will be

 severely prejudiced if default judgment is not granted because it is the only way they may obtain

 relief for their unpaid wages. What is more, the Complaint is meritorious, well pled and, thus,

 entitles them to relief. Further, if default judgment is not granted, the Defendants will escape

 liability for violating the law.

         Defendants' failure to appear despite having knowledge of this action for several months

 shows that their failure is willful and, therefore, any impact that default judgment may have on

 them is immaterial. See Burch v. Nyarko, No. 06 Civ. 7022, 2007 U.S. Dist. LEXIS 43275, at* 9

 (S.D.N.Y. June 15, 2007).

         For these reasons, entry of default judgment pursuant to Rule 55(b) is warranted.



                                                  -9-
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 10 of 18 PageID #: 161



             a. Defendants are Liable to Plaintiffs for Unpaid Wages and Other Statutory

                 Violations

          When a default judgment is entered, the defendants are deemed to have admitted all of

 the well-pleaded factual allegations in the complaint pertaining to liability.           Greyhound

 Exhibitgroup, Inc. v. E.L. UL. Realty Corp., 973 F. 2d 155, 158 (2d Cir. 1992).              As the

 Defendants have failed to appear, they are deemed to have admitted each of Plaintiffs'

 allegations. Therefore, they are liable to Plaintiffs for the claims alleged in the Complaint.

                     i. Federal Minimum Wage and Overtime

          Defendants failed to pay Plaintiffs the full minimum wage under the FLSA. During the

 relevant time period of this action when Plaintiff was underpaid or unpaid, the federal minimum

 wage was $7.25 per hour.        See 29 U.S.C. § 201 et seq.        As demonstrated in Plaintiffs’

 Spreadsheet of Damages, attached as Exhibit D to the Gangat Declaration, Defendants failed to

 pay Plaintiffs at the federal minimum wage rate, and thus violated federal minimum wage law.

 Defendants are not entitled to take a tip credit from Plaintiffs because they failed to notify

 Plaintiffs, orally or in writing, about the tip credit provisions of the FLSA. 29 U.S.C. § 203(m);

 Compl. ¶ 38; Galan Aff ¶ 8-9; Guerrero Aff ¶ 8-9; Tr. 5:17-6:12, 18:14-18.)

          Defendants also failed to pay Plaintiffs proper overtime pay, equivalent to one-and-a-half

 times the greater of the minimum wage or employee’s regular rate of pay for each hour of work

 over 40 hours per week, despite Plaintiffs regularly working over 40 hours per week. 29 U.S.C.

 § 207.

                     ii. State Minimum Wage, Overtime, and Spread of Hours

          Defendants failed to pay Plaintiffs the full New York State minimum wage. During the

 course of their employment, the New York State minimum wage was $8.75 per in 2015; $9.00



                                                - 10 -
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 11 of 18 PageID #: 162



 per hour in 2016; and $11.00 per hours in 2017. NYLL § 652; 12 NYCRR § 146-1.2.

          Defendants are also not entitled to take a tip credit under the NYLL because they failed to

 notify Plaintiff, orally or in writing, about their intention to claim a tip credit against their

 minimum wage obligations to reduce the applicable minimum wage. Furthermore, Defendants

 did not provide the Plaintiff with a written notice of her regularly hourly pay rate, overtime

 hourly pay rate, the amount of tip credit to be taken from the basic minimum hourly pay rate, or

 the regular payday, nor did Defendants provide explicit notice that extra pay is required if tips

 are insufficient to bring Plaintiff’s wages up to the basic minimum hourly rate. 12 New York

 Codes Rules & Regulations (“NYCRR”) § 146 - 1.3; Compl. ¶ 38; Galan Aff ¶ 8-9; Guerrero Aff

 ¶ 8-9.

          Lastly as to the NYLL unpaid wages, where an employee is at work for more than 10

 hours per day, including as part of a split shift, the employer is required to pay the employee an

 extra hour of pay at the full minimum wage. 12 NYCRR § 146 - 1.6(a). Despite working over

 10 hours per workday on several occasions, Plaintiffs were never paid this extra hour of pay.

                    iii. Plaintiff Carolina Guerrero is Entitled to Damages for Notice Violations

          The NYLL requires employers to provide their employees with information pertinent to

 their employment, both at the time of hiring and when receiving wage payments. NYLL § 195.

 Under the Wage Theft Prevention Act, effective April 9, 2011, the law provided that the

 employer must:

          [P]rovide his or her employees, in writing in English and in the language identified by
          each employee as the primary language of such employee, at the time of hiring, a notice
          containing the following information: the rate or rates of pay and basis thereof, whether
          paid by the hour, shift, day, week, salary, piece, commission, or other; allowances, if any,
          claimed as part of the minimum wage, including tip, meal, or lodging allowances; the
          regular pay day designated by the employer in accordance with section one hundred
          ninety-one of this article; the name of the employer; any “doing business as” names used
          by the employer; the physical address of the employer's main office or principal place of

                                                 - 11 -
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 12 of 18 PageID #: 163



           business, and a mailing address if different; the telephone number of the employer; plus
           such other information as the commissioner deems material and necessary. . . .
           and,

           furnish each employee with a statement with every payment of wages, listing the
           following: the dates of work covered by that payment of wages; name of employee; name
           of employer; address and phone number of employer; rate or rates of pay and basis
           thereof, whether paid by the hour, shift, day, week, salary, piece, commission, or other;
           gross wages; deductions; allowances, if any, claimed as part of the minimum wage; and
           net wages. For all employees who are not exempt from overtime compensation as
           established in the commissioner's minimum wage orders or otherwise provided by New
           York state law or regulation, the statement shall include the regular hourly rate or rates of
           pay; the overtime rate or rates of pay; the number of regular hours worked, and the
           number of overtime hours worked.

 Effective February 27, 2015, after ten business days following an individual’s first day of

 employment, violations of § 195(1) incur a penalty of $50 per work day, up to $5,000, together

 with costs and fees. NYLL § 198(1–b). Violations of § 195(3) incur a penalty of $250 per

 workday, up to $5,000, together with costs and fees. NYLL § 198(1–d).

           Because Plaintiff Carolina Guerrero never received this notice, Plaintiff’s length of

 employment qualifies her to receive the statutory maximum of $10,000.00 in damages. In other

 words the statutory maximum is due in this case because Plaintiff Carolina Guerrero worked in

 excess of 100 days beyond her first ten days of employment for the purpose of notice of pay rate

 upon hire requirement, and Plaintiff Carolina Guerrero worked over 20 days beyond when her

 first wage statement was due for the purpose of the wage statement requirement.

     IV.      Plaintiffs are Entitled to Compensatory Damages, Liquidated Damages,
              Prejudgment Interest, Attorneys’ Fees and Costs

              a.         Compensatory Damages

           Where defendants have defaulted, plaintiffs need only demonstrate the extent of their

 damages, and need not "introduce any evidence whatever in support of the allegations of [their]


                                                  - 12 -
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 13 of 18 PageID #: 164



 complaint." Boyke v. Superior Credit Corp., No. 01 Civ. 0290, at *4, 2006 U.S. Dist. LEXIS

 93928 (N.D.N.Y. Dec. 28, 2006). "At most, all that defendant can do is question the extent of

 the damages suffered by plaintiff." Id. at *4-5. A court need not hold a hearing on damages. The

 Court "may, but need not, make the determination [of damages] through a hearing. Rather, ... the

 court may rely on detailed affidavits or documentary evidence to evaluate the proposed sum."

 Fustok v. Conticommodity Servs., Inc., 873 F.2d 38, 40 (2d Cir. 1989). Here, Plaintiffs

 Have testified and submitted detailed affidavits and exhibits demonstrating their damages that

 have provided the Court with a basis for awarding damages.

        "[W]here the employer has defaulted, the courts have held that the plaintiff[s]'

 recollection and estimates of hours worked are presumed to be correct." Pavia v. Around the

 Clock Grocery, Inc., No. 03 Civ. 6465, 2005 U.S. Dist. LEXIS 43229, at* 18 (E.D.N.Y. Nov. 15,

 2005) (quoting Zeng Liu v. Jen Chu Fashion Corp., No. 00 Civ. 4221, 2004 U.S. Dist. LEXIS

 35, at* 8-9 (S.D.N.Y. Jan. 7, 2004)). Here, because Defendants have defaulted, Plaintiffs'

 representations concerning their hours worked and wages owed are taken as correct. Therefore,

 Plaintiffs are entitled to damages in accordance with those representations, and in the amounts

 set forth in the declaration and exhibits submitted herewith.

            b.          Liquidated Damages

        Both the FLSA and the NYLL provide for liquidated damages in addition to actual

 damages.    Under the FLSA, an employer who violates the minimum wage and overtime

 requirements are liable for the unpaid wages “and an additional equal amount as liquidated

 damages,” i.e., 100 %. 29 U.S.C. § 216(b). Unless the employer shows that the failure to pay

 lawful wages “was in good faith and that he had reasonable grounds for believing that his act or

 omission was not in violation,” liquidated damages are to be awarded. 29 U.S.C. § 260; See



                                                - 13 -
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 14 of 18 PageID #: 165



 Reich v. Southern New England Telecommunications Corp., 121 F.3d 58, 71 (2d Cir. 1997).

 Since “[t]he [employer’s] burden is a difficult one to meet,” awarding liquidated damages is “the

 norm, single damages the exception.” Reich, quoting Brock v. Wiamowsky, 833 F.2d 11, 19 (2d

 Cir. 1997) (internal quotations omitted).    Under the NYLL, the employer owes liquidated

 damages constituting an additional 100 percent of the total wages “unless the employer proves a

 good faith basis for believing that its underpayment of wages was in compliance with the law.”

 NYLL § 198(1–a); NYLL § 663.

        In Rana v. Islam, 2018 WL 1659667 (2d Cir. April 6, 2018), the Second Circuit Court of

 Appeals held that it interpreted the NYLL and FLSA “as not allowing duplicative liquidated

 damages for the same course of conduct.” Id. at *4. However, in the same facts, the Second

 Circuit also held that “the plaintiff should receive the larger of the two liquidated damages

 awards.” Id. at *5.

        Here, Defendants willfully and intentionally failed to pay Plaintiffs their wages or

 overtime pay and failed to make any good faith effort to comply with the law. Accordingly,

 Plaintiffs should be awarded liquidated damages equal to 100 percent of their unpaid minimum

 wages and overtime pay under the NYLL, which is larger than the FLSA liquidated damages

 because the applicable New York State minimum wage rates were higher than the federal one.

 Separately, Plaintiffs should also be awarded 100% liquidated damages for Defendants’ failure

 to pay the NYLL “spread-of-hours” claim, which is not actionable under the FLSA.

            c.         Prejudgment Interest

        Section 5001 of the New York Civil Practice Law and Rules ("CPLR") provides that

 "[W]here damages were incurred at various times, [prejudgment] interest shall be computed

 upon each item from the date it was incurred or upon all of the damages from a single reasonable



                                              - 14 -
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 15 of 18 PageID #: 166



 intermediate date." NY C.P.L.R. § 5001 (b). Prejudgment interest accrues at 9% per annum on a

 simple interest basis. NY C.P.L.R. § 5004.

        Where defendants are in 'default, it is appropriate to calculate prejudgment interest based

 on assumptions and methodologies that are favorable to plaintiffs. See Zeng Liu, supra, 2004 U.S.

 Dist. LEXIS, at *16-17. Prejudgment interest is available for unpaid minimum wages and

 overtime claims under the New York Labor Law. See Chan v. Sung Yue Tung Corp., No. 03

 Civ. 6048, 2007 U.S. Dist. LEXIS 33883, at * 26-28 (S.D.N.Y. May 8, 2007); Zeng Liu,

 supra, 2004 U.S. Dist. LEXIS, at *16-17. It is available even where the plaintiff is awarded

 liquidated damages under the Labor Law. Id.

        Prejudgment interest is equally available for unpaid wage claims under the FLSA. See

 Perera v. Food Jungle, Inc., No. 05 Civ. 4347, 2006 U.S. Dist. LEXIS 73409, at *29-30

 (E.D.N.Y. Aug. 7, 2006). However, prejudgment interest generally is only awarded under the

 FLSA in the absence of an award of liquidated damages under the FLSA. Chan, supra, 2007 U.S.

 Dist. LEXIS 33883, at *26.

        Here, Plaintiffs incurred unpaid minimum wages and overtime compensation at different

 times - i.e., each week in which Plaintiffs should have received their unpaid wages . In such a

 situation, it is reasonable to calculate prejudgment interest from the "midpoint of the accrual of

 damages." Zeng Liu, supra, 2004 U.S. Dist. LEXIS, at *16-17; Food Jungle, supra, 2006 U.S.

 Dist. LEXIS 73409, at* 29-30.

        A "reasonable intermediate date" from which to calculate prejudgment interest on

 Plaintiffs' unpaid wages damages is "halfway between when plaintiffls] began and ceased

 working for the defendants." Id; see also N. Y C.P.L.R. § 5001 (b). The halfway point in

 Plaintiffs' collective period of employment is approximately August 30, 2010.



                                               - 15 -
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 16 of 18 PageID #: 167



        Accordingly, prejudgment interest on Plaintiffs' unpaid wages and overtime

 compensation under the New York Labor Law should be calculated at 9% per annum from

 August 30, 2010 through the date of judgment in this matter.

            d.         Attorneys’ Fees and Costs

        The FLSA and New York Labor Law both permit successful claimants to obtain

 reimbursement of their attorneys' fees and costs. 29 U.S.C. § 216(b); N.Y. Lab. Law § 663(1).

        Plaintiffs request $9,590 in attorneys’ fees, as set forth in the Gangat Declaration and

 supporting exhibits. These fees - based on an hourly rate of $350 per hour - are reasonable, in

 accord with the prevailing rates in this community, and necessary to the prosecution of this

 action. See Gutman v. Klein, No. 03 Civ. 1570, 2009 U .S. Dist. LEXIS 123057, at *8 (E.D.N.Y.

 Oct. 13, 2009) (approving hourly rates of $300 and $400 for partners); Lochren v. County of

 Suffolk, No. 01 Civ. 03925, 2010 U.S. Dist. LEXIS 28288, at *7 (E.D.N.Y. March 23 , 2010)

 (awarding attorney with fifteen years of experience an hourly rate of $400); Pinzon v . Paul Lent

 .Mechanical Systems, Inc ., No. 11 Civ. 3384, 2012 U.S. Dist. LEXIS 134122, at *16-17

 (E.D.N.Y. Aug. 21, 2012) (awarding partner an hourly rate of $400); EBY Solutions, Inc . v.

 Schwartz, No. 11 Civ. 0947, 2011 U.S. Dist. LEXIS 151585, at *18-19 (E.D.N.Y. Nov. 17,

 2011) (approving hourly rate of $400 for partners); GMG Transwest Corp. v. PDK Labs, Inc.,

 No. 07 Civ. 2548, 2010 U.S. Dist. LEXIS 108581 at *3 (E.D.N.Y. Oct. 12, 2010) (prevailing

 hourly rates for partners in Eastern District is between $350 and $450; awarding two partners

 hourly rates of $400 and $450, respectively).

        The starting point for an award of attorneys' fees in the Second Circuit is the

 "presumptively reasonable fee." Kahlil v. Original Old Homestead Restaurant Inc., 657 F. Supp.

 2d 470, 474-75 (S.D.N.Y. 2009) (quoting Arbor Hill Concerned Citizens Neighborhood Ass'n. v.



                                                 - 16 -
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 17 of 18 PageID #: 168



 County of Albany, 522 F. 3d 182, 183 (2d Cir. 2008)). The presumptively reasonable fee is "what

 a reasonable, paying client would be willing to pay." Id. at 190. This "initial estimate" is

 calculated by multiplying "the number of hours reasonably expended on the litigation ... by a

 reasonable hourly rate." Kirsch v. Fleet Street, Ltd., 148 F. 3d 149, 172 (2d Cir. 1998) (quoting

 Hensely v. Eckerhart, 461 U.S. 424, 433, 103 S. Ct. 1933, 76 L. Ed. 2d 40 (1983)).

           In exercising its discretion, the Court must consider "all of the case specific variables that

 ... courts have considered relevant," including [t]he reasonable hourly rate ... a paying client

 would be willing to pay," "bear[ing] in mind that a reasonable, paying client wishes to spend the

 minimum necessary to litigate the case effectively." Arbor Hill, supra, 522 F. 3d at 190

 (emphasis in original). "Following the determination of the presumptively reasonable fee, the

 Court must then consider whether an upward or downward adjustment of the fee is warranted

 based on factors such as the extent of plaintiff's success in the litigation." Robinson v. City of

 New York, No. 05-cv-9545, 2009 U.S. Dist. LEXIS 89981, at *7 (S.D.N.Y. Sept. 29, 2009).

 While a court may adjust the presumptively reasonable fee amount, there remains "[a] strong

 presumption that [this initial calculation] ... represents a 'reasonable' fee." Pennsylvania v.

 Delaware Valley Citizens' Council for Clean Air, 478 U.S. 546, 565, 106 S. Ct. 3088, 92 L. Ed.

 2d 439 (1986).

           Plaintiffs' costs - $610, as also set forth in the exhibits to the Gangat Declaration - are

 "reasonable out of pocket expenses ... which are normally charged to fee-paying clients," which

 warrant reimbursement. Boyke, supra, 2006 U.S. Dist. LEXIS 93928, at* 32-33.

           For these reasons, Plaintiffs are entitled to their attorneys' fees and costs for bringing this

 action.




                                                   - 17 -
  
Case 1:18-cv-02603-ENV-JO Document 36 Filed 11/14/18 Page 18 of 18 PageID #: 169



                                        CONCLUSION

       For the reasons stated above, Plaintiffs respectfully move the Court to:

       a. Enter a default judgment against Defendants pursuant to Rule 55(b)

       b. Adopt the above-state proposed findings of fact and conclusions of law;

       c. Award Plaintiffs damages in the amount of $89,484.20 for plaintiff Eliana Galan and

          $26,626.50 for plaintiff Carolina Guerrero;

       d. Award Plaintiffs attorneys’ fees and costs in the amounts of $9,590 and $610 as set

          forth in the papers submitted herewith;

       e. Award Plaintiffs prejudgment interest; and

       f. Award Plaintiffs such other and further relief as the Court deems just and proper.


 Dated: New York, New York                             LAW OFFICE OF MOHAMMED
        November 14, 2018                              GANGAT

                                                       By:   _______________________________
                                                                 Mohammed Gangat, Esq.
                                                                 675 3rd Avenue, Suite 1810
                                                                 New York, NY 10017
                                                                 (718) 669-0714
                                                                  mgangat@gangatllc.com

                                                       Attorneys for Plaintiffs




                                              - 18 -
  
